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                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 NORTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,

v.                                                            Case No. 2:12-cr-12-07
                                                              HON. R. ALLAN EDGAR
LATIF JANOCKO BESS,

            Defendant.
_______________________________/


                                      ORDER OF DETENTION

               The government has filed a motion for detention in this matter. A hearing was held

before the undersigned on August 20, 2012. For the reasons stated on the record, the Court finds

there is presently no combination of conditions that will reasonably assure the appearance of

defendant at future court proceedings and the safety of the community. Accordingly,

               IT IS ORDERED that the government’s motion (Docket #92) is GRANTED and the

defendant shall be detained pending further proceedings. Defendant retains the right to request a

detention hearing at a future date.

               IT IS FURTHER ORDERED that, pursuant to 18 U.S.C. § 3142(i), defendant shall

be placed in the custody of the Attorney General for confinement in a corrections facility, separate,

to the extent practicable, from persons awaiting or serving sentences or being held in custody

pending appeal. Defendant shall be afforded a reasonable opportunity for private consultation with

his counsel and, on order of any court of the United States or on request of an attorney for the
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government, the accused shall be delivered to a United States Marshal for the purpose of an

appearance in connection with a court proceeding.

              IT IS SO ORDERED.



                                           /s/ Timothy P. Greeley
                                           TIMOTHY P. GREELEY
                                           UNITED STATES MAGISTRATE JUDGE

Dated: August 21, 2012




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